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Counsel for Plaintiff

                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

  ROBERT SIVIGNY,                                    Case No: 2:19-cv-16113-BRM-JAD

         Plaintiff,                                  NOTICE OF VOLUNTARY DISMISSAL
                                                     PURSUANT TO FED. R. CIV. P.
         v.                                          41(a)(1)(A)(i)

  MEDIDATA SOLUTIONS, INC., TAREK
  SHERIF, GLEN DE VRIES, CARLOS
  DOMINGUEZ, GEORGE MCCULLOCH,
  NEIL KURTZ, MARIA RIVAS, LEE
  SHAPIRO, and ROBERT B. TAYLOR,

         Defendants.


       PLEASE TAKE NOTICE that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of

Civil Procedure, Plaintiff Robert Sivigny hereby voluntarily dismisses the above-captioned action

as moot. Defendants have not served an answer or a motion for summary judgment.



Dated: August 19, 2019                             Respectfully submitted,

                                                   HALPER SADEH LLP

                                                   /s/Zachary Halper
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                                        Counsel for Plaintiff




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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 19, 2019, a true and correct copy of the foregoing document
was served by CM/ECF to the parties registered to the Court’s CM/ECF system.


                                                    /s/Zachary Halper
                                                    Zachary Halper




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